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                   In the United States District Court
                        Northern District of Texas
                          Wichita Falls Division

Rhonda Fleming,                        §
Charlsa Little,                        §
Jeanette Driever, and                  §
Brenda Rhames,                         §
                                       §
     Plaintiffs,                       §     CIVIL ACTION NO.
                                       §
v.                                     §       7:17-cv-0009-0
                                       §
United States of America,              §
Attorney General Jefferson B.          §
Sessions, III,                         §     Jury Trial Demanded
Acting Director of the Bureau of       §
Prisons Dr. Thomas R. Kane,            §
Jody R. Upton, and                     §
Steve Mora,                            §
                                       §
     Defendants.                       §

           THIRD AMENDED VERIFIED COMPLAINT

     Plaintiffs Rhonda Fleming, Brenda Rhames, Charlsa Little, and

Jeanette Driever bring this lawsuit against the United States of

America and named officials in their official and individual capacities.




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                                   I.
                              Introduction

     This action anses out of recent U.S. Bureau of Prisons (BOP)

rules and regulations that authorize male prison inmates to be housed

in the same facilities that house female inmates. Such a blending of the

sexes in the confined and restricted conditions attendant to prisons

violates the privacy of female inmates and causes numerous dangers

and threats to the physical and mental health and safety of our female

Plaintiffs, and has in fact resulted in many such dangers coming to

fruition as detailed below.

     The basis for the recent changes to rules and regulations is a

politically-driven agenda to affirm that gender identity theory, rather

than biological sex, is the normative basis to determine whether an

inmate is male or female. Consequently, male inmates who profess to

be transgender women are being placed in female-only prison facilities

as a method of affirming their misperceived sex. Housing male inmates

in facilities otherwise housing only female inmates creates a situation

that incessantly violates the privacy of female inmates; endangers the

physical and mental health of the female Plaintiffs and others,


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including prison staff; increases the potential for rape; increases the

potential for consensual sex which is nonetheless prohibited by prison

regulations; increases the risk for other forms of physical assault,

violates the Plaintiffs' right to freely exercise their religion; and causes

mental and emotional distress that must be promptly mitigated by

preliminary and permanent injunctive relief.

     Plaintiffs seek a return to objective reason in prison regulations

and the housing actions of the BOP, and recompense for past harms

inflicted on them.

     Throughout this Complaint, Plaintiffs refer to "sex" as the

biological sex a person has at birth which correlates to objective indicia

of sex such as chromosomes, gonads, and internal and external

genitalia. Sex is objectively verifiable; binary, fixed, and defined by our

human reproductive nature as either male or female.

     Plaintiffs use the term "gender" as it is used by Defendants'

policies and practices, to mean a self-perception of one's "gender" that is

subjectively discerned and exists within a continuum of genders that

range from male to female to something else. Gender is established



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only by a person's self-report; there are no objective indicia that

disclose one's "gender," and gender identity theory rejects male and

female physiological reproductive systems as being definitional primary

sex characteristics. Gender is subjectively perceived; fluid, and may be

called male, female, or something else as the individual may desire.

     Finally, "intersex'' refers to a disorder of sexual physiological

development in which there is an abnormal chromosomal complement;

the development of deformed or ambiguous genitalia; or some

combination of the two. Intersex conditions may be objectively

diagnosed and are distinct from "genders" proposed by gender-identity

theory. Intersex conditions are irrelevant to this Complaint.

                                 II.
                   Parties and Service of Process

1.   Plaintiff Rhonda Fleming is a 51-year-old, Mrican-American

     female,   currently residing in the Federal Medical Center,

     Carswell Federal Prison, Fort Worth, Texas.

2.   Plaintiff Charlsa Little is a 37-year-old Caucasian female,

     currently residing in the Federal Prison Camp, Bryan, Texas.




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3.   Plaintiff Jeanette Driever Is a 39-year-old, Shoshone-Bannock

     Native American female, currently residing in the Federal

     Medical Center, Carswell Federal Prison, Fort Worth, Texas.

4.   Plaintiff Brenda Rhames is a 63-year-old, Caucasian female,

     currently residing in the Federal Medical Center, Carswell

     Federal Prison, Fort Worth, Texas.

5.   Defendant    United    States    of America Is       the   sovereign

     responsible for creation and implementation of the policies being

     challenged in this lawsuit, and for the incarceration of Plaintiffs

     and the conditions in which Plaintiffs live. It may be served with

     process via certified mail delivered to the U.S. Attorney for the

     Northern District of Texas:

     Hon. John R. Parker, U.S. Attorney
     c/o Civil-Process Clerk
     U.S. Attorney's Office, Northern District of Texas
     1100 Commerce Street, Third Floor
     Dallas, Texas 75242

     with copy delivered via certified mail to:

     Hon. Jefferson B. Sessions, III
     Attorney General of the United States
     U.S. Department of Justice
     950 Pennsylvania Avenue, NW


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     Washington, D.C. 20530-0001

     and copy delivered via certified mail to:

     Dr. Thomas R. Kane
     Acting Director, Federal Bureau of Prisons
     320 First Street, NW
     Washington, D.C. 20534

6.   Defendant Hon. Jefferson B. Sessions, III is the Attorney

     General of the United States and director of the U.S. Department

     of Justice, and is being sued in his official and individual

     capacities. He is the official who, among other tasks, supervises

     the Department of Justice, of which one division is the Federal

     Bureau of Prisons. He is the person responsible for the proper

     enforcement of BOP regulations. He may be served with process

     via certified mail delivered to the U.S. Attorney for the Northern

     District of Texas:

     Hon. John R. Parker, U.S. Attorney
     c/o Civil-Process Clerk
     U.S. Attorney's Office, Northern District of Texas
     1100 Commerce Street, Third Floor
     Dallas, Texas 75242

     with copy delivered via_ certified mail to:

     Hon. Jefferson B. Sessions, III


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     Attorney General of the United States
     U.S. Department of Justice
     950 Pennsylvania Avenue, NW
     Washington, D.C. 20530-0001

     and copy delivered via certified mail to:

     Dr. Thomas R. Kane
     Acting Director, Federal Bureau of Prisons
     320 First Street, NW
     Washington, D.C. 20534

7.   Defendant Dr. Thomas R. Kane is the Acting Director of the

     U.S. Bureau of Prisons and is being sued in his official and

     individual capacities. He is the official responsible, among other

     tasks, for the creation, administration, and implementation of the

     policies and procedures of the Bureau of Prisons that are being

     challenged in this lawsuit. He may be served with process via

     certified mail delivered to the U.S. Attorney for the Northern

     District of Texas:

     Hon. John R. Parker, U.S. Attorney
     c/o Civil-Process Clerk
     U.S. Attorney's Office, Northern District of Texas
     1100 Commerce Street, Third Floor
     Dallas, Texas 75242

     with copy delivered via certified mail to:



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      Hon. Jefferson B. Sessions, III
      Attorney General of the United States
      U.S. Department of Justice
      950 Pennsylvania Avenue, NW
      Washington, D.C. 20530-0001

      and copy delivered via certified mail to:

      Dr. Thomas R. Kane
      Acting Director, Federal Bureau of Prisons
      320 First Street, NW
      Washington, D.C. 20534

8.    Defendant Jody R. Upton is the warden of the Carswell Federal

      Medical Center, and is being sued in her official and individual

      capacities. She may be served with process via certified mail

      delivered to the U.S. Attorney for the Northern District of Texas:

      Hon. John R. Parker, U.S. Attorney
      c/o Civil-Process Clerk
      U.S. Attorney's Office, Northern District of Texas
      1100 Commerce Street, Third Floor
      Dallas, Texas 75242

      with copy delivered via certified mail to:

     ·Ms. Jody R. Upton
      Federal Medical Center, Carswell
      Naval Air Station
      J St Bldg 3000
      Fort Worth, Texas 76127




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9.    Defendant Steve Mora is the warden of the Bryan Federal Prison

      Camp, and is being sued in his official and individual capacities.

      He may be served with process via certified mail delivered to the

      U.S. Attorney for the Northern District of Texas:

      Hon. John R. Parker, U.S. Attorney
      c/o Civil-Process Clerk
      U.S. Attorney's Office, Northern District of Texas
      1100 Commerce Street, Third Floor
      Dallas, Texas 75242

      with copy delivered via certified mail to:

      Mr. Steve Mora
      Federal Prison Camp, Bryan
      1100 Ursuline Avenue
      Bryan,Texas77803

                                  III.
                        Jurisdiction and Venue

10.   Jurisdiction is proper in this Court under Article III of the U.S.

      Constitution and 28 U.S.C. §§1331 and 1346 because claims in the

      case arise under the Constitution, laws, or treaties of the United

      States, including the First, Fourth, Fifth, Eighth, and Fourteenth

      Amendments, 42 U.S.C. §2000(bb), et seq. (the RFRA), and under




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      Bivens v. Six Unknown Agents of the Federal Bureau of Narcotics,

      403 U.S. 388 (1971).

11.   The Court has jurisdiction to issue the requested declaratory

      relief in accordance with 28 U.S.C. §§2201 and 2202, and Federal

      Rule of Civil Procedure 57.

12.   The Court has jurisdiction to issue the requested injunctive relief

      in accordance with 5 U.S.C. §§702 and 703, 28 U.S.C. §1343(a)(4),

      and Federal Rule of Civil Procedure 65.

13.   The Court has jurisdiction to award attorney's fees and costs in

      accordance with 28 U.S.C. §2412 and the Equal Access to Justice

      Act, and money damages under Bivens v. Six Unknown Agents of

      Federal Bureau of Narcotics, 403 U.S. 288 (1971).

14.   Venue is proper in the Northern District of Texas in accordance

      with 28 U.S.C. §1391(e) because the Defendant wardens reside in

      this district, a substantial part of the events or omissions giving

      rise to the claims occurred in this district, and the policies being

      challenged are being implemented in the Northern District of

      Texas, among other locations.



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                                IV.
                     Relevant Background Facts

A.    General Prison Conditions

15.   Plaintiffs are incarcerated women in the custody of the Federal

      Bureau of Prisons, serving sentences in excess of 50 months. Each

      of them is a non-violent, minimum security inmate. Many other

      affected inmates at these facilities are serving sentences in excess

      of 20 years.

16.   Both FMC Carswell (population approximately 1,164 inmates)

      and FPC Bryan (population approximately 879 inmates) are

      designated by the Bureau of Prisons (BOP) as "female only"

      prisons. This means they are supposed to house only female

      offenders in these facilities, and are not officially designated to

      house male inmates. Many other facilities under the direction of

      BOP are similarly designated as "female only" or "male only."

17.   Carswell FMC currently houses more inmates than its designed

      capacity.

18.   Prison facilities generally house inmates 24 hours a day during

      their incarceration. At Carswell and Bryan, inmates are bunked


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      in 4-person cells and are obligated to accept cellmates as assigned

      by Defendants; there is effectively no privacy from one's

      cellmates.   Inmates    are   under   the   direction,   control,   and

      supervision of the prison at all times while they eat, sleep,

      recreate, bathe, work, dress, and engage in other intimate

      activities such as using the restroom. Many of these activities are

      not conducted in physically-separated spaces, but are instead

      conducted in dormitory or "open" spaces visible to all other

      inmates and prison officials. This openness is mostly necessary in

      order to allow prison officials to keep a close eye on the activities

      of inmates to detect prison rule violations or harmful or harassing

      behavior towards other inmates or guards, thus encouraging

      inmates to follow the rules to avoid discipline as well as

      preserving the security of the facility.

19.   For the entire history of this country, and in most countries

      world-wide, male prison inmates are housed in separate facilities

      from female inmates. There are many good reasons for this

      separation, including to protect the physical safety of the inmates



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      and prison officials, bodily privacy, hygiene, and to prevent or

      avoid mental/sexual trauma, sexual assault, and consensual

      sexual relations that     are   nonetheless    illicit under prison

      regulations.

20.   To preserve their bodily privacy, inmates may not be generally or

      routinely subjected to observation by guards of the opposite sex

      when the inmates are disrobing, showering, or toileting.

21.   Similarly, to protect their bodily privacy, inmates may not

      generally or routinely be subjected to pat searches by guards of

      the opposite sex.

22.   These conditions are controlled by federal regulations and

      statutes, some of which are relevant to this case.

B.    Recent Changes to Prison Regulations.

23.   In 2012, under former President Barack Obama, government

      regulations were changed regarding the "gender identities" of

      inmates housed in federal prisons. See, e.g., 28 C.F.R. §115.42,

      which provides rules for the        assignment of self-identified




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      "transgender" inmates to facilities where other inmates are of a

      different biological sex.

24.   Specifically, the former administration began designating male

      inmates who claimed to be "female" as if they were actually

      females, and began housing them in female-only prison facilities.

      For ease of reference, these male inmates will be identified as

      "MTF Inmates."1

25.   Under BOP regulations, MTF Inmates are discerned as being

      "female" only through their self-report. Moreover, there 1s no

      objective, physical, or evidence-based test that can verify that a

      biological male inmate is actually a MTF Inmate. This is

      evidenced by the regulations relating to professed transgender

      inmates, who are classified as such by this self-reported criteria:

             Gender identity - a person's sense of their own
             gender, which is communicated to others by their
             gender expression.

       Acknowledging that some professed transgender inmates may suffer a
psychological condition is not a pejorative, but is supported by the Diagnostic and
Statistical Manual of Mental Disorders, Fifth Edition (sometimes referred to as the
"DSM-5") published by the American Psychiatric Association. See Exhibit I (Gender
dysphoria definition and diagnoses guidelines). Counsel notes that Plaintiffs do not
concede that the DSM-5 establishes an authoritative scientific consensus on gender
identity theory. As that document itself admits, gender identity theory is rife with
confusion, controversy, and a proliferation of terms of varying meaning. Id. at 451.

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             Gender expression           includes mannerisms,
             clothing, hair style, and choice of activities. 2

      As is evident, a person's "sense of their own gender," and each of

      the clinical indicia of "gender expression," are based solely on the

      self-reported declarations and volitional behaviors of the person

      himself, and are not objectively verifiable as is biological sex.

26.   Additionally, this same Program Statement differentiates gender

      identity from sexual orientation (or the sexual preferences of the

      person):

             Sexual orientation - the direction of one's sexual
             interest towards members of the same, opposite,
             or both genders (e.g., heterosexual, homosexual,
             bisexual, asexual). Sexual orientation and gender
             identity are not related.

27.   This    differentiation   means     that   male    inmates     could   be

      heterosexual in their orientation while also claiming to be MTF

      Inmates, and under current BOP regulations thereby gain access

      to a captive prison population filled with female inmates who the


2     Source: U.S. Justice Department, Federal Bureau of Prisons, Program
Statement, OPI: RSD/FOB, Number: 5200.04, Date: January 18, 2017,
"Transgender Offender Manual." See Exhibit H.


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      male inmate still has sexual desire for and who are ready victims

      for sexual assault and rape. That is, because of the self-reported

      nature of the MTF designation, it is possible that MTF Inmates

      are actually just regular male inmates who falsely "identify" as

      MTF Inmates for nefarious purposes including gaining access to a

      female-only prison population in order to engage in sexual

      assault, rape, or other sexual aggression or activity.

28.   Even for those professed transgender inmates whose confusion as

      to their sex may be genuine, the fact that sexual orientation is

      distinct from gender identity means that an MTF inmate may

      retain male genitalia and be sexually attracted to females with

      consequent elevated risk for consensual sex or rape within the

      inmate population, or between inmates and staff.

29.   Regardless of sexual orientation, male inmates often use their

      male sexual organs as threats or weapons against other inmates.

      Even without physical contact, Plaintiffs are being subjected to

      constant visual exposure of male sexual organs, which violates the

      privacy rights of any woman unwillingly exposed to the sight. For



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      victims of sexual abuse - as many women in prison are - such

      exposure can be even more severely mentally distressing and

      harmful.

30.   Upon information and belief, there are at least four MTF

      professed transgender inmates currently at Carswell: Linda

      Thompson; Peter Langan; Andre Saunders; and Darnell Nash.

      Saunders and Nash have prison disciplinary records for violent

      incidents. Thompson, Saunders, and Nash have each threatened

      to rape female inmates. Langan presents himself as having a

      propensity for violence, and has verbally threatened other

      inmates with death.

31.   Most or all of the MTF Inmates currently at Carswell and at

      Bryan possess male sexual genitalia including testicles and

      penises.

32.   For instance, Linda Thompson, is an approximately 6-4, 230

      pound male bank robber currently housed among the female

      population of that facility. He still has his external male genitalia,

      is among the largest inmates at Carswell, and poses a physical



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      threat to not only other inmates but also to prison staff, many of

      whom are smaller females. Thompson has also threatened various

      inmates, including one Plaintiff, with sexual assault and rape if

      he did not get his way on certain issues---for example, being

      assigned to a cell with a female inmate whom he disliked.

33.   Plaintiffs have received death threats after one or more of the

      MTF inmates used PACER to access documents filed in this case,

      such threats to be effected should a court order issue directing

      that MTF inmates are to be relocated from Carswell FMC.

34.   The constant risk and frequent reality of Plaintiffs' unconsented

      viewing of nude male inmates, and their being observed by male

      inmates when Plaintiffs are disrobing, partially nude, or fully

      nude, deprives Plaintiffs of their Constitutional rights to bodily

      privacy and freedom from mental and physical assault.          The

      following incidents typify the injuries to Plaintiffs and other

      female inmates:

35.   Ms. Driever was raped in a half-way house by a male staff

      member before coming to Carswell. This traumatic experience



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      obviously caused her severe mental distress which continues to

      this day. For her to be at constant risk of, and actual exposure to

      viewing male sexual organs, which is forced on her by the living

      conditions Defendants have by policy established as described

      herein (and that she has no way to escape from) severely

      exacerbates her already-fragile mental condition (PTSD) and

      psychological anguish and stress.

36.   On or about January 31, 2017, Inmate Thompson sought out and

      confronted Ms. Fleming in the law library area while armed with

      a mop handle or similar stick, and threatened her for filing this

      lawsuit to protect her privacy and safety. See Exhibit A,

      Declaration by Rhonda Fleming; Exhibit B, Declaration by

      Cheree Cockrell; and Exhibit C, Declaration by Levon Edmonds.

37.   On or about March 14, 2017, during a fire drill, Inmate Thompson

      dropped his pants and urinated, exposing his genitals and

      buttocks to a crowd of approximately 400 female inmates,

      including Plaintiffs. See Exhibit B, Declaration by Cheree

      Cockrell and Exhibit D, Declaration by Kathleen Nelson.



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38.   In May or June 2016, Ms. Fleming attempted to file an

      administrative complaint to seek relief from having male inmates

      assigned to the female facility; prison officials retaliated by

      placing her on kitchen duty which is understood by inmates to be

      a disciplinary duty. Additionally, a Correctional Supervisor

      threatened to "open an investigation" on Fleming if she persisted

      in complaining about men being present in the prison. See

      Exhibit E, Declaration by Robin Pareznanin and Exhibit F,

      Administrative Grievance re: Lt. Sosa.

39.   In late 2016, Inmate Thompson was challenged by a guard

      regarding the way he was wearing his uniform. In protest, he

      stripped naked and walked about in the presence of over 100

      women.

40.   Inmate Thompson frequently exposes his genitalia to Plaintiffs

      and other female inmates by wearing his prison-issue skirt

      without underwear, and sitting spread-legged so as to expose

      himself to female inmates generally, or to a particular female

      inmate.



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41.   Other inmates have experienced similar violations of bodily

      privacy and safety. For instance, inmate Joann Henry was housed

      for several months in 2016 in the SHU (Special Housing Unit)

      with MTF inmates, where she repeatedly was exposed to nude

      male bodies and male genitals. See Exhibit G, Declaration by

      Joann Henry.

42.   Inmate Kathleen Nelson reported exposure to male bodies and

      witnessed the fire drill incident in which Inmate Thompson

      exposed himself while urinating. See Exhibit D, Declaration by

      Kathleen Nelson.

43.   Inmate Cheree Cockrell states that female inmates feel less safe

      with men in the unit and are regularly disrespected by the MTF

      inmates. She also witnessed the fire drill incident, and has

      witnessed Thompson agitating with other inmates to condemn

      Fleming for filing her lawsuit. She further states that Fleming

      and Driever are both at risk of assault due to their legal work on

      this case. See Exhibit B, Declaration by Cheree Cockrell.




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44.   Inmate Julie Hatcher has been exposed to male inmates,

      including being exposed to full frontal        nudity of Inmate

      Thompson, and to Thompson's genitals, on a daily basis.

45.   Sexual assault in prison is a very serious national problem. This

      is confirmed by the fact that the federal government has passed

      statutes to prevent such activities. See, e.g., Prison Rape

      Elimination Act of 2003, P.L. 108-79, 42 U.S.C. §15601, et seq.

      The government requires regular audits to monitor this ongoing

      problem.

46.   Interestingly, none of the Obama-era regulations regarding

      professed "transgender" inmates mention, much less make any

      special provisions for, the protection, safety, and privacy of the

      biological female inmates with whom MTF Inmates are being

      housed. For instance, the cited Program Statement cites to 18

      C.F.R. § 115.42(c):

           In deciding whether to assign a transgender or
           intersex inmate to a facility for male or female
           inmates ... the agency shall consider on a
           case-by-case basis whether a placement would
           ensure the inmate's health and safety, and



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             whether  the    placement     would             present
             management or security problems.

       Nothing is said about the privacy, religious beliefs, health, or

       safety of other inmates who do not suffer from sexually-based

       psychological conditions. a

4 7.   This in turn means present regulations elevate the "concerns" of

       MTF Inmates -         inmates who are          suffering from senous

       psychological disorders, including gender dysphoria, or             maybe

       simply pretending to do so - over and above the concerns and

       protection of the entire population of female inmates, thus

       shifting the burden to protect the privacy and safety of the female

       inmates from the prison and onto the inmates themselves.

48.    It is undoubtedly humane to offer supportive services to

       psychologically suffering inmates, but there is no justification or

       penological interest being served by the new and extraordinary


3      The only part of the cited Program Statement that might come close to
showing concern for other inmates is in the factors to be considered when
determining where to house MTF Inmates: "... likelihood of perpetrating abuse."
However, this is vague as to who would be the perpetrator and who would be the
victim of such abuse, and given its inclusion in a listing of harms that might be
suffered by an MTF Inmate, is appears it is addressing only harm to, not caused by,
the MTF Inmate.


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      harms and risks being perpetrated on other inmates 1n that

      process via the recent Obama-era BOP regulations.

49.   To   be    clear,   Plaintiffs   are    not     seeking    to    prevent

      medically-necessary treatment prescribed for any inmate. Instead,

      they are asking that their legal rights to privacy, safety, and the

      free exercise of their faith be protected against the inevitable

      consequences of official policies of intermingling the sexes in their

      home---particularly when that home is a federal prison.

50.   These new regulations are found in numerous BOP policies and

      rules, including provisions of 28 C.F.R. §115 implementing the

      Prison Rape Elimination Act and the USDOJ BOP Transgender

      Offender Manual (attached as Exhibit H).

51.   Non-federal prisons having similar inmate populations and

      inmate    demographics-such        as     the      State    of    Texas

      system-currently manage the needs of professed transgender

      prisoners without intermingling the sexes in the general prison

      population, just as the Federal system did prior to the adoption of

      gender-identity theory in its regulations.



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52.   MTF Inmates, even though they self-report to be "females," still

      possess the innate physical characteristics of male human beings,

      (even if they have had surgical removal of some or all male sexual

      organs) including greater average height, weight, and muscle

      mass than females. These characteristics make MTF Inmates

      substantially larger and stronger than the average female, thus

      rendering them a physical as well as sexual danger to female

      inmates and prison officials.

C.    The Conditions That Support This Lawsuit.

53.   As would be expected from the federal prison regulations

      requiring this, Plaintiffs have been housed with MTF Inmates,

      sometimes in the same sleeping and intimate spaces.

54.   MTF Inmates have been known to display their male genitalia to

      Plaintiffs, either aggressively and intentionally as a means of

      intimidation or harassment, or inadvertently in locker areas,

      showers, restrooms, and cells.

55.   Whether such exposure is intentional or inadvertent, or motivated

      by animus or not, it is damaging to Plaintiffs and such exposure



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      anses solely because of the Defendants' policy and practices

      challenged herein.

56.   Plaintiffs being exposed, either intentionally or inadvertently, to

      these displays of male genitalia has caused them to suffer

      embarrassment, mental anguish, suspicion, fear of sexual assault,

      and other unnecessary and readily-preventable mental distress.

57.   In addition, many MTF Inmates have verbally threatened

      Plaintiffs and others with physical and sexual assault, and in

      several instances such threats have turned into actual assaults.

58.   In addition, federal prisons, including Carswell and Bryan, house

      other female inmates who self-report to be "male." Some of the

      professed female-to-male or "FTM" Inmates, while being females,

      have been treated by prison officials with testosterone and have

      engaged in strength training to further their process of "becoming

      males." They are also known to wear "strap on" devices to mimic

      male sexual anatomy.

59.   Hormone and strength-training actions by FTM Inmates render

      them physically stronger than regular female inmates, and the



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      hormones make them much more aggressive and increase their

      propensity for physical violence.

60.   Being housed with professed "transgender" inmates of either

      variety deprives Plaintiffs of their Constitutional rights to

      pnvacy, bodily integrity, safety, freedom from physical assault

      and rape, and basic human dignity.

61.   Further, Plaintiffs are evangelical Christians. Consistent with the

      tenets of their faith, Plaintiffs observe certain conventions of

      modesty in dress and demeanor, which include not being

      subjected to unnecessary or unconsented viewing of nude males

      and similarly avoid exposing their own nudity to men. These

      religious tenets and the free exercise thereof are being violated by

      the imposition of the subject regulations and the housing of

      professed "transgender" inmates in their prison facilities, and no

      reasonable accommodations have been offered to Plaintiffs to

      address these concerns.




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62.   Christian teachings about modesty and privacy between the sexes

      are among the most fundamental teachings, being evident in

      Genesis, the very first book of the Bible.

63.   On May 4, 2017, President Donald Trump issued an Executive

      Order Promoting Free Speech and Religious Freedom to the

      agencies under his authority-including the Bureau of Prisons-

      to establish the following policy, which in relevant part states:

      Section 1. Policy. It shall be the policy of the executive
      branch to vigorously enforce Federal law's robust protections
      for religious freedom. The Founders envisioned a Nation in
      which religious voices and views were integral to a vibrant
      public square, and in which religious people and institutions
      were free to practice their faith without fear of
      discrimination or retaliation by the Federal Government.
      For that reason, the United States Constitution enshrines
      and protects the fundamental right to religious liberty as
      Americans' first freedom. Federal law protects the freedom
      of Americans and their organizations to exercise religion
      and participate fully in civic life without undue interference
      by the Federal Government. The executive branch will
      honor and enforce those protections.

      Presidential Order Promoting Free Speech and Religious Freedom,

      https://www. whitehouse .gov/the-press-office/20 17/05/04/presidenti

      al-executive-order-promoting-free-speech-and-religious-liberty.

      Defendants' policies and practices as applied to the Plaintiffs'


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      religious tenets regarding personal privacy are inconsistent with

      the President's May 4, 2017 Executive Order Promoting Free

      Speech and Religious Liberty.

64.   Finally, backed up by federal regulations, certain prison officials

      have embraced gender-identity ideology and have threatened,

      berated, and embarrassed Plaintiffs for their activities in

      attempting to bring these issues to the attention of the courts and

      seek their correction. These actions by prison officials violate

      Plaintiffs' Constitutional rights to bodily privacy, to be free from

      mental anguish, threatens their physical well-being, and singles

      them out for punishment by government officials for petitioning

      the Government for a redress of grievances and exercising their

      First Amendment rights.

65.   Prison officials at Carswell and Bryan have offered only

      unreasonable "accommodations" to Plaintiffs so they may avoid

      the so-called "transgender" inmates. Those accommodations have

      only involved Plaintiffs volunteering to be placed in protective

      custody, which is a form of solitary confinement in a special



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      housing unit (or SHU). Confinement in SHU results in loss of paid

      prison work assignments, contact with other inmate friends and

      associates, access to recreational facilities, and other deprivations.

66.   This is backwards: it is not Plaintiffs who are intruding on the

      constitutional rights of other inmates in the prison, but rather it

      is the professed "transgender" inmates who necessarily violate

      other inmates' privacy and pose other threats to legal rights and

      even others' safety. It is unjust and unreasonable for Plaintiffs to

      be asked to "volunteer" for more-punitive confinement conditions

      in the SHU in order to avoid the harms and threats being inflicted

      on them by the irrational regulations and operations of the prison

      system. Plaintiffs plead for reason to be returned to the prison

      system in which they find themselves captive, and seek relief

      from the threats and mental anguish being foisted upon them by

      the regulations and practices of the BOP regarding professed

      "transgender" inmates.

67.   Plaintiffs have suffered, and continue to suffer, severe mental

      anguish in the form of extreme embarrassment, fear for their



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      physical safety, anxiety, sleeplessness, physical illness, and panic

      attacks, based on their being subjected to conditions where their

      bodily privacy is continually at risk and frequently violated and

      mental and physical safety is constantly endangered by being

      housed with professed "transgender" inmates, all under the

      Defendants' rules and regulations.

                                   v.
                    Statement of Applicable Law

68.   At all relevant times, each and all of the acts alleged herein were

      attributed to the Defendants who acted under color of a statute,

      regulation, or other laws of the United States.

69.   The right to privacy in one's bodily integrity is well established

      under federal law, and protected by the 4th, 8th, and 14th

      Amendments to the U.S. Constitution, and by various federal

      statutes and regulations.

70.   The right to be free from threats of physical and mental abuse, or

      actual physical and mental abuse, while incarcerated In a

      government prison is well established under federal law.




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71.   The right to be free to express and enjoy religious liberty without

      unreasonable governmental interference is well established In

      federal law, including the Religious Freedom Restoration Act.

72.   The right to petition the government for a redress of grievances

      free from government retaliation is a well-established right, even

      for prison inmates.

73.   The rules and regulations under review in this case infringe on

      and disparage the federally-protected rights of Plaintiffs as set

      forth herein.

74.   Under    federal   law,   if   government    officials   violate   the

      Constitutional rights of citizens, they are liable for monetary

      damages caused by those violations.

75.   Defendants knew or should have known that the subject rules and

      regulations infringed on Plaintiffs' Constitutional and statutory

      rights, but enforced and implemented those rules and regulations

      anyway, and continue to do so, all to the harm of Plaintiffs.

76.   The continued enforcement of the subject rules and regulations by

      Defendants will continue to infringe and violate Plaintiffs'



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      Constitutional and statutory rights unless this Court enjoins such

      action.

77.   Defendants are and have been deliberately indifferent to the

      constitutional and statutory violations visited upon the Plaintiffs

      by the Defendants' policies and practices.

78.   Preserving bodily privacy-particularly In conducting personal

      hygiene and not suffering unconsented viewing of one's nude

      body-is one necessary measure of civilized life's necessities.

79.   Defendants have no legitimate penological interest in forcing

      Plaintiffs to share with male inmates their cells, locker areas,

      showers, toilets, and other areas where bodily privacy is

      normatively protected.

                                  VI.
                            Causes of Action

      All facts set forth above are incorporated into each of the causes of

action below as if fully set forth therein.

A. · Violation of Constitutional Rights

80.   Plaintiffs   have   the   Constitutional   right   under   the   First

      Amendment, even while in prison, to petition the government for


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      a redress of grievances without being subjected to retaliation,

      intimidation, and threats for doing so.

81.   Plaintiffs have the Constitutional right under the Fourth, Eighth,

      and Fourteenth Amendments, even while in prison, to be free

      from physical and mental harm and threats of harm imposed on

      them by prison officials, directly or indirectly, whether that harm

      is caused by implementation of rules and regulations or otherwise

      which constitute cruel and unusual punishment.

82.   Plaintiffs have a Constitutional right to privacy under the Fourth

      and Fourteenth Amendments, which includes bodily privacy.

83.   Plaintiffs have a Constitutional right under the Fourth, Eighth,

      and Fourteenth Amendments to expect that prison officials will

      keep them safe from harm from other inmates by exercising

      reasonable actions designed to do so.

84.   Plaintiffs have a Constitutional right under the Fifth Amendment

      to petition the government for redress of grievances without

      suffering retaliation by government officials for doing so, even

      while they are in prison.



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85.   Plaintiffs have a constitutional right under the 8th amendment to

      not be subjected to cruel and unusual punishment.

86.   The BOP regulations identified above serve to create an

      environment wherein these Constitutional rights are violated, or

      are at constant risk of violation, all to the detriment of Plaintiffs.

B.    Violation of the Religious Freedom Restoration Act

87.   Defendants' conduct in imposing rules and regulations, and in

      imposing conditions affecting Plaintiffs that violate their rights to

      practice the tenets of their faith, violate the First Amendment

      and the federal Religious Freedom Restoration Act.

88.   Defendants intentional intermixing of the sexes within a

      female-specific facility violates the Plaintiffs' free exercise of their

      faith absent any legitimate penological interest in intermixing the

      sexes; lacks any rational basis for such intermixing; and is devoid

      of any compelling or even rational government interest.

89.   Were a compelling government interest in intermingling the sexes

      in female-specific facilities established, then Defendants failed to

      use the least restrictive means to advance any such interest.



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90.   These deprivations of rights by Defendants are caused by the

      rules and regulations imposed by the policymaker of the BOP.

C.    Attorney's Fees

91.   Plaintiffs are entitled to recover their reasonable and necessary

      attorney's fees as the Court deems them fair and equitable, for all

      of which Plaintiffs hereby sue.

                                   VI.
                            Relief Requested

      Plaintiffs seek the following relief:

92.   Declaratory Judgment that the regulations of the BOP as set out

      herein are violative of the U.S. Constitution, facially and as

      applied, because they infringe on Plaintiffs' rights to bodily

      pnvacy, freedom from cruel and unusual punishment, and

      religious freedom; and further declare that such regulations are

      null and void.

93.   Preliminary injunctive relief to relocate Plaintiffs to a secure

      half-way house or similar minimum-security facility where their

      bodily privacy and personal safety may be assured during the

      pendency of this litigation, and such permanent injunctive relief


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      as 1s necessary to assure their bodily privacy and safety

      throughout the balance of their respective terms of imprisonment.

94.   Preliminary and permanent injunctive relief forbidding the BOP,

      or any of its officials, from enforcing, implementing, or relying

      upon for any purpose any rules or regulations that would cause or

      allow professed "transgender" inmates from being housed in any

      facility other than a facility that houses inmates who are of the

      same sex as the inmates as that sex is determined by their sex at

      birth;

95.   Injunctive relief forbidding the BOP, or any of its officials, from

      retaliating or taking any punitive action whatsoever toward any

      Plaintiff based on the fact that this lawsuit has been filed seeking

      a redress of Plaintiffs' grievances;

96.   Mandatory injunctive relief directing the BOP to promptly

      relocate all inmates in the federal prison system who are

      presently housed in facilities also housing inmates of another sex

      such that all inmates will be housed in facilities that house

      inmates corresponding to their binary sex at birth; or in the



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      alternative, Plaintiffs ask the Court to order Defendants to craft a

      remedy that protects the Constitutional rights and safety of

      Plaintiffs without imposing punitive or restrictive conditions on

      Plaintiffs,   and then upon notice and hearing, adopt said

      alternative remedy if and as the Court deems it appropriate

97.   Money damages of $22,000.00 per Plaintiff for past mental

      anguish;

98.   Punitive damages at the highest rate allowed by law;

99.   Nominal damages of $10.00 per Plaintiff per Defendant;

100. Reasonable and necessary attorney's fees in accordance with 28

      U.S. C. §2412, the Equal Access to Justice Act, and in equity; and

101. Such other and further relief as is just.

                                  RESPECTFULLY SUBMITTED:

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                                 ATTORNEYS FOR PLAINTIFFS
                                 * Pro hac vice application submitted
                                 **Pro hac vice application pending.fp

                    CERTIFICATE OF SERVICE

     In accordance with Local Rule 5.1(d), the foregoing pleading was
served in accordance with the CM/ECF filing system and FRCP 4.

                                      Is/ James A. Pikl




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                                 VERIFICATION

     BEFORE ME, the undersigned authority, personally appeared
Rhonda Fleming, known to me to be the person whose name is
subscribed below, and upon her oath, stated as follows:

     My name is Rhonda Fleming. I am one of the Plaintiffs in this
lawsuit. I have personal knowledge of all facts stated in the pleading
above, and all such facts are true and correct.




     SUBSCRIBED this~ day of May, 2017, to which witness my
hand and seal of office.


                       A. ARRIAGA
                 My Notary ID # 130793845
                  Expires August 24, 2020




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